                           MEMORANDUM OPINION
{¶ 1} On February 15, 2007, appellant, Eric Lee Porterfield, filed a notice of appeal from a judgment of the Trumbull County Court of Common Pleas issued on December 28, 2006, which denied his motion to vacate his sentence.
  {¶ 2} On February 20, 2007, appellee, State of Ohio, filed a motion to dismiss the appeal as being untimely pursuant to App.R. 4(A).
  {¶ 3} App.R. 4(A) states: *Page 2 
  {¶ 4} "A party shall file the notice of appeal required by App.R. 3 within thirty days of the later of entry of the judgment or order appealed or, in a civil case, service of the notice of judgment and its entry if service is not made on the party within the three day rule period in Rule 58(B) of the Ohio Rules of Civil Procedure."
  {¶ 5} Appellant's appeal was due to be filed by January 29, 2007, and it was not filed until February 15, 2007. Thus, this court is without jurisdiction to review this matter pursuant to App.R. 4(A).
  {¶ 6} Therefore, appellee's motion to dismiss is granted, and the appeal is hereby dismissed.
  {¶ 7} Appeal dismissed.
  DIANE V. GRENDELL, J., MARY JANE TRAPP, J., concur. *Page 1 